       Case 1:20-cv-00119-BAH              Document 65-3    Filed 06/24/20      Page 1 of 5



                             UNITED STATES DISTMCT COURT
                             FORTHE DISTRICTOF COLUMBIA

       DISTRICT OF COLUMBIA,
       STATE OFNEW YORK, STATE
       OF CALIFORNIA,STATE OF
       COLORADO, STATE OF
       CONNECTICUT, STATE OF
       HAWAII, STATE OF ILLINOIS,
       STATE OFMAINE, STATE OF
       MARYLAND,
       COMMONWEALTHOF
       MASSACHUSETTS,ATTORNEY
       GENERALDANANESSELON                             Civ. Action No. l:20-cv-00119-BAH
       BEHALF OF THE PEOPLE OF
       MICHIGAN, STATE OF
       MINNESOTA, STATE OF
       NEVADA,STATE OFNEW
       JERSEY,STATE OFNEW
       MEXICO, STATE OF OREGON,
       COMMONWEALTHOF
       PENNSYLVANIA,STATE OF
       RHODE ISLAND, STATE OF
       VERMONT,COMMONWEALTH
       OF VIRGINIA, and CITY OF
       NEW YORK,

                          Plaintiffs,

              V.


       U. S. DEPARTMENT OF
      AGRICULTURE;GEORGE
      ERVINPERDUEIII, in his official
      capacity as Secretary of the U. S.
      Department ofAgriculture, and
      UNITED STATES OF AMERICA,

              Defendants.

        DECLARATION OF ALEXIS CARMEN FERNANDEZ IN SUPPORT OF
             PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT

Pursuant to 28 U. S. C. § 1746, 1, Alexis Carmen Fernandez, declare and state as follows:

       1.      I am over the ageofeighteen (18) years, competent to testify to the matters
contained herein, and testify based on my personal knowledge and information.
       Case 1:20-cv-00119-BAH           Document 65-3        Filed 06/24/20      Page 2 of 5




        2.      I am Chief of the CalFresh & Nutrition Branch within the California Department
ofSocial Services (CDSS). I have held this position sinceJuly 2019, first as Acting Chiefand
now in my appointedposition. Priorto the positionI hold now, I served as Chiefofthe CalFresh
Policy Bureau, previously known as the CalFresh Policy Section, within the CalFresh and
Nutrition Branch at CDSS, from June 2016 to July 2019. Before joining state service, I was the
Policy Director at the First 5 Association of California and Director of Legislation at California
Food Policy Advocates. I have a Master of Social Welfare, with a specialization in Management
andPlanning, from the University ofCalifornia, Berkeley.

       3.    I am awarethatthe federal government in December2019 issueda final rule
"Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults Without
Dependents" 84 Fed. Reg. 66, 782 (Dec. 5, 2019) (the "Final Rule"). I have reviewed the Final
Rule and am aware of its direct implications on the administration ofthe Supplemental Nutrition
Assistance Program (SNAP), known in California as CalFresh. I understand that this lawsuit
challenges the Final Rule. I previously submitted a declaration in support of the State Plaintiffs'
motion for preliminary injunction.

        4.      In the months since the State Plaintiffs filed their motion for preliminary
injunction, the novel coronavirus that causes the disease known as COVID-19 has impacted and
continues to impact California'seconomy. On March4, 2020, the Governor ofthe State of
California, Gavin Newsom, proclaimed a state of emergency. On March 19, 2020, the State
Public Health Officer issued a statewide stay-at-home order to disrupt the spread of the
coronavirus. Many California businesses have limited their hours or methods of operation or
closed their doors altogether. From March to June 2020, the California Employment
Development Department reported processing nearly 5. 5 million Unemployment Insurance
claims. While California has begun moving through a four-stage reopening framework, it is
unclearwhenthe stay-at-homeorderwill be lifted in full. It is also unclearwhetherCalifornia
will experience a resurgence ofthe vims, which might require further restrictions.

        5.       Many of those experiencing increased financial hardship began applying for
CalFresh benefits. In February 2020, before the economic impacts ofCOVID-19 had been felt in
earnest, 4, 063, 062 California households received CalFresh and 160, 968 new applications for
CalFresh were submitted. In March and April 2020, 608, 306 new SNAP applications were
submitted andby the end ofApril 2020, CalFresh participation hadgrown to 4,487, 411 recipient
households. While household participation numbers for May 2020 are not yet available, another
258, 146 applications were submitted. This trend represents a complete reversal ofprior trends:
ahead of the COVID-19 pandemic, CalFresh participation, like SNAP participation nationwide,
was trending downward due to a strong economic outlook.

       6.    As explained in my previous declaration, CalFresh Employment & Training
(CalFresh E&T) is California's version ofthe SNAPEmployment & Training program and
provides important job resources to those eligible for CalFresh. At the time of that declaration,
CalFresh E&T did not have the capacity to provide services to all Able-Bodied Adults Without
Dependents (ABAWDs) that would need to engage in qualifying work activities as a result of the
Final Rule and the Final Rule did nothing to supplement these resources. The economic impact
of the COVID-19 pandemic has further decreased this capacity as most CalFresh E&T counties
       Case 1:20-cv-00119-BAH          Document 65-3        Filed 06/24/20      Page 3 of 5




 have limited their operations to essential services only and many providers have also limited
 their operations and are unableto provide CalFreshE&T services in-person. Whilevirtual and
 home-basedCalFreshE&T services may be provided in the future, many counties andproviders
 have not yet beenable to reconfiguretheir service model. This changewill require time,
resources, and technological capacity, and would have significantly strained CDSS's resources
 even before the COVID-19pandemic.

        7.      There hasbeena limited increase in demandfor some service industryjobs, such
as grocery and restaurant deliveryjobs, duringthe COVID-19pandemic. Gig economyjobs do
not reliably provide sufficient hours to meet the ABAWD time limit work requirements; they
may also require other resources that may not be availableto the ABAWD, like a reliable
vehicle. Many ABAWDswho struggledto find workbeforethe COVID-19pandemiccontinue
to struggle; many now Hnd it even more difficult to find work. There are now more limited
 options for employment and far greater competition for thejobs that do exist. Lastly, in light of
the COVID-19pandemic, somepeople are unable to return to the workforce without
jeopardizingtheir own health andsafety or that oftheir families.

         8.     In response to the economic hardships created by the COVID-19 pandemic, the
Families First Coronavirus Response Act (Public Law 116-127) was passed by Congress and
signed by the President in March 2020. Under this Act, the ABAWD time limit mle is suspended
for the length of the federal public health emergency. It is unclear when this suspension will end;
thus, while a waiver is not currently necessary, one may be necessary in the near future.

        9.     On June 2, 2020, California submitted a new request to the U. S. Department of
Agriculture (USDA) FoodandNutrition Service (FNS)to waivethe ABAWDtime limit
statewide beginning July 1, 2020 and continuing until June 30, 2021. The waiver request is based
on California qualifying for Extended Benefits under the U. S. Department of Labor's
Unemployment Insurance program. Under the current ABAWD regulations, this is an approved
fonn of evidence to support a state's claim of insufficient jobs. Under the Final Rule, California
would not be able to request a statewide waiver and statewide approval of extended
unemployment benefits would likely be deemed insufficient to demonstrate the need for a waiver
for any ofthe Labor Market Areas (LMAs) within the state.

         10.    The current public health crisis has demonstrated the untenability ofthe
restrictions on ABAWDwaiverrequeststhat wouldbe imposedunderthe Final Rule. The new
ABAWD criteria contained in the Final Rule will not allow States to respond to sudden
economic downturns such as the one caused by COVID-19. The current COVID-19 pandemic
has underscored the need for states to have flexibility when it comes to the administration of
SNAP.

      11.     The economic impacts of the COVID-19 pandemic on local jurisdictions have
demonstrated that using LMAs as the only pennissible geographic basis for waiver requests does
not sufficiently address local needs. LMAs can include more than one county and/or multiple
cities. However, under California's four-stage reopening framework, different counties may
move through the reopening process on different timelines. Additionally, local health officers
may impose restrictions that go beyond restrictions imposed by the State. Thus, there may be
significant differences in reopening acrossjurisdictions that are combined into a single LMA.
       Case 1:20-cv-00119-BAH            Document 65-3        Filed 06/24/20      Page 4 of 5



 For this and other reasons, a portion of an LMA may experience a slower economic recovery
 than other portions ofthat same LMA. Yet, under the Final Rule, the part ofthe LMA suffering
 more economically would be maskedby unemployment datafrom the rest ofthe LMA.

          12.   The Final Rule requires an LMA have a 12-month average unemployment rate of
 at least 10% or a 24-month average unemployment rate ofat least 6% and 20% higher than the
national average for that LMA to qualify for a waiver ofthe ABAWD rule. These thresholds are
 so high, and the LMAs are so rigid, that the Final Rule, were it in effect today, would not allow
for waivers in some California LMAs with very high rates ofunemployment for the month of
April 2020, due to the fact that those LMAs had low unemployment rates for the preceding two
years. The anticipated high unemployment rates of 2020 may not even be enough to raise the
average 12- or 24-monthunemployment rate to the necessarythreshold underthe Final Rule.
Further, the Final Rule's provision for obtaining a waiver without meeting these thresholds in
"exceptional circumstances" is vague and would unnecessarily delay response to an emergency
(7 CFR 273. 24(f)(3)). The only example ofhow such an exception would function describes
"data from the BLS or a BLS-cooperating agency that shows an area has a most recent three-
month average unemployment rate over 10 percent. " As ofthe date of this declaration, the
Bureau of Labor Statistics (BLS) only reflects unemployment data as recent as April 2020, the
first month in which areas had unemployment rates over 10%. This seems to indicate that even
under this "exceptional circumstances" standard, a waiver would not be approved until not one,
but two more months ofBLS data are published.

        13.     In addition to vastly restricting California's ability to seek a waiver during the
current crisis or a future crisis, the Final Rule will eliminate California's carryover of
discretionary exemptions, which could be used to mitigate some ofthe harm ofthe ABAWD
time limit during such crises. In October 2020, 853, 947 ofCalifornia's discretionary exemptions
will be eliminated as a result of the non-enjoined portion of the Final Rule. These exemptions are
not being used currently due to the congressional suspension ofthe ABAWD time limit under
Public Law 116-127. If California's waiver request is granted, then the exemptions will not be
used again for at least a year. When California's economy begins to recover and the ABAWD
time limit is implemented in certain counties, there will beno discretionary exemptions to help
those households that are slower to recover.

        14.     The administrative challenges in implementing this Final Rule have only
increased as a result of the COVID-19 pandemic. Many CDSS and county employees have had
to take a leave of absence or time off to care for themselves or other family members. Staff
capacity will likely continue to be limited as a result ofbudget cuts, discussed further below.
This limited capacity must be dedicated to general recovery efforts, including taking up projects
that were delayed by the response to the COVID-19pandemic, andto ensuring that CalFresh is
accessible to all. Dedicating stafftime to implementation ofa work rule at this point in time
would divert resources away from those other critical responsibilities, at a time when such
resources cannotbe spared.

        15.   As discussed in my previous declaration, implementation of the Final Rule would
require automation changes in California's three eligibility information technology (IT) systems.
The COVID-19pandemic has led to a number ofurgent, high-priority automation projects. As a
result, non-COVID-19 automation projects have been delayed. This means that automation for
       Case 1:20-cv-00119-BAH          Document 65-3         Filed 06/24/20      Page 5 of 5



this Final Rule will either be significantlydelayed or will further delay otherhighpriority non-
COVID-19projects. It could be well over a year before any automationfor the Final Rule could
begin. It is worth noting that California will be migrating to a single eligibility IT system in the
next few years, so any automation work done in the retiring systems will only be ofuse for a
short time.

        16.     At the time my prior declarationwas filed with the court, Californiawas
projecting a $5. 6 billion budget surplus. On May 14, '2020, as a.result of the COVID-19
pandemic, the Stateprojected a budget deficitof$54.3 billion. The FinalRule would further
harmthe economy andbe costly to the State. As I explainedin my prior declaration, it is
estimatedby USDAthat one dollar in SNAPbenefits spent is $1.54 addedto the Gross Domestic
Product (GDP). Therefore, any reduction in CalFresh eligibility has a negative impact on an
alreadyhard-hiteconomy. Similarly, the FinalRule would increase state and local administrative
costs during a time when public entities are experiencing significant budget cuts. Jointly, the
State and counties pay 50% ofthe administrative costs ofCalFresh, with the FNS matching the
other 50%. Therefore, the implementation ofthe Final Rule will only add to the State's and
counties' economic and fiscal hardship.

        17.    As Chief of the CalFresh and Nutrition Branch, I also oversee the administration
of several major federal and state food distribution and food bank programs. As a result ofthe
COVID-19 pandemic, California food banks are reporting unprecedented levels of need. In my
previous declaration I explained that California's food banks do not have the capacity to serve as
the sole-food provider for an individual who loses their eligibility for CalFresh. The COVID-19
pandemic has underscored that food banks cannot be relied upon to be the sole source of food for
individuals who should be receiving SNAP. Instead, they must be able to support those
individuals and households who are experiencing a crisis and are urgently in need of the food
safety net.

        18.    Were this Final Rule to go into effect, California could be left with extremely
limited options, if any, to seek a waiver ofthe ABAWD work requirements during an
unprecedented crisis where it is even more difficult to find availablejobs and individuals are
being asked to stay home to protect their own health and the health ofthe community. Families
with low-income have been hit especially hard by the pandemic, and CalFresh benefits are
crucial for their ability to put food on the table to keep their families healthy and better
positionedto combatthe spreadofthe coronavims.

   I declare under penalty ofperjury that the forgoing is tme and correct and ofmy own
personal knowledge.

   Executed on June 22, 2020 in Sacramento, California.

                                                                            ^

                                                       ALEXISCARMENFERNANDEZ
                                                       Chief, CalFresh & Nutrition Branch
                                                       CaliforniaDepartment of Social Services
